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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

VS.                                 NO. 4:13MJ6022-02-BD

AMJAD KATTOM                                                                DEFENDANT


                                         ORDER

       Defendant Amjad Kattom appeared before the Court on June 26, 2013, for his

initial appearance hearing. Defendant’s native language is Arabic. He is not well versed

in the English language and is unable to fully understand the legal proceedings being

conducted. Defendant and his counsel request the assistance of an interpreter to enable

Defendant to communicate with and comprehend the presiding judicial officers and other

parties at all proceedings conducted in court.

       The Court therefore directs that an interpreter be appointed, pursuant to Rule 28 of

the Federal Rules of Criminal Procedure. The Clerk is directed to appoint a qualified

interpreter to assist the Defendant, counsel, and the court at any and all court proceedings

in this case.

       IT IS SO ORDERED this 27th day of June, 2013.




                                          UNITED STATES MAGISTRATE JUDGE
